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                  UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
                                    §
CANAL INDEMNITY COMPANY,            §
                                    §
                   Plaintiff,       §
                                    §
     v.                             §     Civil Action No. 4:19-cv-02945
                                    §
COASTAL TRANSPORT CO., INC., et al. §
                                    §
                   Defendants.      §


        DECLARATION OF SHRUTI D. ENGSTROM, ESQ. IN SUPPORT OF
    PHILLIPS 66 COMPANY’S MOTION FOR SUMMARY JUDGMENT AGAINST
                  PLAINTIFF CANAL INDEMNITY COMPANY

I, Shruti D. Engstrom, declare:

       1.      I am an attorney at the law firm of Reed Smith LLP, counsel for Defendant

Phillips 66 Company (“Phillips 66”). I have personal knowledge of the facts stated in this

Declaration.

       2.      A true and correct copy of the relevant portions of the email dated September 10,

2020, from Shruti Engstrom to Cy Haralson, counsel for Canal, copying John Ellison and Brian

Martin, is attached hereto as Exhibit A. (Communications between counsel which are not

relevant to this motion have been redacted in Exhibit A.)

       3.      In July 2019, Phillips 66 repeatedly informed Canal that settlement of the

Underlying Suit was imminent, provided details on the settlement amount and requested that

Canal participate in the settlement.

       4.      A true and correct copy of the letter dated July 23, 2019, from John Ellison to

Alison Christian, counsel for Canal, copying Shruti Engstrom and Matthew Oglesby, is attached

hereto as Exhibit B.
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       5.      A true and correct copy of the email dated July 24, 2019, from Shruti Engstrom to

Alison Christian, counsel for Canal, and John Ellison, copying Matthew Oglesby and Lon

Johnson, is attached hereto as Exhibit C.

       6.      A true and correct copy of email dated July 25, 2019, from Shruti Engstrom to

Alison Christian, counsel for Canal, copying Matthew Oglesby, Lon Johnson, and John Ellison,

is attached hereto as Exhibit D.

       7.      A true and correct copy of the email dated July 30, 2019, from Alison Christian,

counsel for Canal, to Shruti Engstrom, copying Matthew Oglesby, Lon Johnson, and John

Ellison, is attached hereto as Exhibit E.

       8.      A true and correct copy of the relevant portions of the email dated June 30, 2020,

from Shruti Engstrom to Cy Haralson, copying John Ellison is attached hereto as Exhibit F.

(Communications between counsel which are not relevant to this motion have been redacted in

Exhibit F.)

       9.      As of November 30, 2020, Phillips 66 has incurred $174,218.58 in fees and

expenses in defending this insurance coverage matter. A true and correct copy of a spreadsheet

summarizing Phillips 66's paid and unpaid fees and expenses in this insurance coverage matter is

attached hereto as Exhibit G.

        10.    I am competent and qualified to make this declaration pursuant to 28 U.S.C.

§ 1746. I declare under penalty of perjury that the foregoing is true and correct.




 Executed on December~ 2020




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